         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-0340
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TYLER B. HUGHES,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Walton County.
Kelvin C. Wells, Judge.


                        August 21, 2024

PER CURIAM.

     DISMISSED. See Parrish v. State, 349 So. 3d 485 (Fla. 1st DCA
2022), rev. granted, No. SC22-1457, 2023 WL 5223320 (Fla. Aug.
15, 2023).

ROBERTS, RAY, and KELSEY, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Megan Lynne Long,
Assistant Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Heather Flanagan Ross,
Assistant Attorney General, Tallahassee, for Appellee.




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